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                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF KENTUCKY
                                          AT LOUISVILLE
                                      ELECTRONICALLY FILED

UNITED STATES OF AMERICA                                                                              PLAINTIFF

v.                                                                     CRIMINAL NO. 3:17 CR-00078-DJH

DHAVAL JERAMBHAI DHOLARIA                                                                          DEFENDANT

                                  UNOPPOSED MOTION TO CONTINUE

         COMES NOW the Defendant, by and through Counsel, and respectfully requests that this

Honorable Court continues the trial, pretrial dates, motion deadlines and all deadlines herein.

Counsel for the Defendant states he has not received nor reviewed the discovery in this case.

         Counsel for the Defendant states that he has conferred with the Assistant United States

Attorney, whom offered no objection to the continuance.

         WHEREFORE, the Defendant through counsel respectfully requests that the trial, pretrial

dates and all deadlines herein be continued.

                                                                 Respectfully submitted,

                                                                 s/ J. Clark Baird        __________
                                                                 J. CLARK BAIRD
                                                                 Counsel for Defendant
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                                                                 Louisville, KY 40204
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                                            CERTIFICATE OF SERVICE

        I hereby certify that on July 31ST , 2017 I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system, which will send a notice of electronic filing to Assistant United States Attorney, David W eiser.

                                                                 /s/ J. CLARK BAIRD
                                                                 J. CLARK BAIRD
                                                                 Counsel for Defendant
